             Case 2:10-cr-00356-LDG-VCF        Document 340       Filed 05/30/12 Page 1 of 3
    .                                                                     - -- - FII
                                                                                   -E:
.
                                                                                EAIERE:                    Y 0il% D
                                                                                          o       . - --   u jwo ()N
                                                                                              twssvp;it
                                                                                                      'fiis()Fxols

                                                                                   :/!7 ,
                                                                                        ? () ;)t
                                                                                               -)12
        1
        2                                                                       cta xtI:nlsa jz.
                                                                                               rco s
                                                                                  plsu jc'
                                                                                         rzlx va ,
                                       U M TED STA TES DISTRICT             :                               pro a
        3
                                              DISTR IC T O F N EV A DA
        4
        5     UNITED STATES 0F AM ERICA,
        6            Plaintiff,                                   2:10-cr-0356-LD0-LRL
        7     v.                                                  O R DER
        8     JEANNIE SUTHERLAND ,etal,
        9            Defendants.
        10

        11       DefendantJeannieSutherlandhastiledamotion foranew trial(#293,response$299).                           i
        12 FederalRuleofCriminalProcedlzre33(a)providestimtGiuponthedefendant'smotion,thecourt                         l
                                                                                                                       1
                                                                                                                       !
        13 mayvacateanyjudgmentaridgrantanew trialiftheinterestofjusticesorequires.''Sutherland                        (
                                                                                                                       ë
        14   attacksherconviction on fourp ounds.                                                                      (
                                                                                                                       !
        15          Sutherlandtirstarguesthatthecourtimproperlyinstructedthejul.
                                                                               yontheissueof
        16   materiality ofheralleged falsestatements.'rhecourtused thelanguage from theNinth Circuit
                                                                    '                                                  (
        17 pattern instruction8.127ininstructingthejuzyastothematerialityelementinbank fraud:$1(T)he                   :
        18   statem entsorpromiseswerem aterial;thatis,they had anaturaltendency to influence,orwere
        19 capableofinfluencing,afnancialinstittltion to partwith m oney orproperty.'' Sulherland argues
        20 thattheinstruction shouldhave statedthatthe statementswerematerialifthey werecapableof
        21   influencingtlze decision-making body oftheparticttlarlenderinvolved,ratllerth% ageneric

        22 Iinancialinstitution.Thecourtpreviouslyruledthatinthematerialityanalysisajurymustlookat
        23 theKçirltrinsic capabilitiesofthe false sutem entitself,ratherthanthepossibilityoftheacmal
        24 attainmentofitsend,''seeUnitedStatesv.Peterson,538F.3d 1064,1072 (9thCir.2008),andthat
        25   çta misrepresentation m aybe materialwithoutinducing any actualreliance.''United Statesv.
        26
     Case 2:10-cr-00356-LDG-VCF         Document 340       Filed 05/30/12   Page 2 of 3




1    Blixt,548F.3d882,889 (9th Cir.2008).n erefore,theNinth Circuitpattem instructionasgiven
2    bythecourtontheissueofmaterialitycorrectlyconveystheobjectivenatureofthestandard.
3          Sutherland nextarguesthatevidence in thegovernment'scase-in-chiefoftlle tindingsand
4    conclusionsoftheNevadaRealEsute Com mission in itssanction ofStdherland on M arch 31,

5    1998,whichrelatedtopayingabuyer'sclosingcosts,weretmdulyprejudicialarldshouldnothave
6    been admitted.Beforeandduringtrial,thegovernmentarguedthatunderFed.R.Evid.404(b)
7    Sutherland'spriordisciplinewasrelevantto show herknowledgeand intentwhen shesecretly
8    paidtheclosing costsfortheBuffalo Drivetransaction in thiscase,and the courtagreed.
9    Furtherm ore,thecourtdeterm ined thatthe probative valueoftheevidencewmsnotsubstnntially

10 outweighedbythedangerofunfairprejudice,especiallyinview ofthecourt'schargetothejuc
11 thatthe smlction wasforanon-crim inaladministrativeviolation notcharged in thiscmse,and that

12 thejurywastoconsidertheevidenceonlyforitsbearingonSutherland'sintent,knowledgeand
13   absence ofm istakeand forno otherpurpose.The courtconcludesthatitspreviousdetermlnations
14   onthisissuewere sotmd.
15          Sutherland also arguesthatherm otion forseveranceshouldhavebeen granted.Before
16   trial,thecourtdeterminedthatSutherland had notshownthatherdefensesweremutually
17   antagonisticto otherdefendants,and duringtrial,Sutherland did notpresenttheevidence which

18 shemaintainedwouldrequireseverance.M orever,thereisnoindication intherecordthatthejttry
19   wasnotableto assessSutherland'sindividualliabilityorcompnrtmentalizefrom theother

20 defendantstheallegationsandchargesagainsther.Thecourtinstructedthejurytodoso,arid
21 there isno indication itdid notfollow thatcharge. Sutherlandwasacquitted asto one ofthree
22   cotmtsagainsther,and convicted oftheconspiracy and theBuffalo Drivebank fraud counts,both
23   ofwhich were supportedby evidencethatthepurposeoftheschemewasto inflatetheptlrchase
24   price to obtain cash ldckbacksand evidenceofSutherland'sknowledge ofand involvementin
25   those aspects. 'rhe dezlialofseverance doesnotm erita new trial.
26
                                                    2
       Case 2:10-cr-00356-LDG-VCF         Document 340       Filed 05/30/12     Page 3 of 3




1             Finally,Sutherland re-arguesthatthegovermnentfailedto provethatsheparticipatedin a
2      schem eto obtnin m oney orpropertyunderthecustodyorcontrolofafederally insured or
3      charteredfinancialinstim tion because M ortgagel'risnotso chartered orinsttred. Attrial,
4      howeversthegovernrnentsubm ited evidencethattlle title company handlingthe closing ofthe
5      Buffalo and Noorstransactionsheld thefundsin itsaccountatU .S.Bank,afederallyinstlred

6      institution,andthatanobjectoftheconspiracywastoobtainfundsfrom thatescrow accotmt.
7      Theco-conspirators'com missions,including Sutherland's,andtheldckbackpaid to W illiamson
8      theNoorsproperty weredrawn on theescrow accountatU.S. Bank, Furthermore,while the
9      governmentargued attrialthattheNinth Circuitdoesnotrequire ashowing thattheinstimtion

10 wasexposedtoariskofloss,thecourtinstructedthejuryotlwm ise.Asthegovernmentpoints
11     out,therecord supportsvariouswaysin which U .S.Bnnk wmsexposed torisk oflossasaresultof
12     the schem e.
13            '
              Fhe courtconcludesthat,asaddressed bythegovernm ent, theremainingpointspresented
14     in Sutherland'sm otion fornew triallack merit.Accordingly,
15            Tl'
                lE COURT HEREBY ORDERS thatdefendantJeazm ie Sutherland'smotion fornew
16 triat(#293)isDENIED.
17
18            DATEDthiseYp dayofMay,2012.
19                                                                                            .V
24:)                                                                                     '
                                                          Ll d . eor              y
21                                                        Unite States istrictJudge
22
23
24
25
26
                                                      3
